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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION

JANIAH MONROE, MARILYN MELENDEZ,                 )
LYDIA HELENA VISION,                             )
SORA KUYKENDALL, and SASHA REED,                 )
                                                 )
               Plaintiffs,                       )
                                                 )
       - vs-                                     )          No. 18-156-NJR
                                                 )
ROB JEFFREYS, MELVIN HINTON,                     )
and STEVEN BOWMAN,                               )
                                                 )
               Defendants.                       )

    DEFENDANTS’ OBJECTIONS TO SCOPE OF PROPOSED MONITOR DUTIES

   The Defendants, ROB JEFFREYS, MELVIN HINTON, and STEVEN BOWMAN, by and

through their attorney, Kwame Raoul, Attorney General for the State of Illinois, provide the

following response and objections to the scope of the Court’s proposed monitor duties:

                                          Introduction

   On December 13, 2021, this Court advised the parties of its decision to appoint a monitor to

review the parties’ post-trial submissions, oversee compliance with the preliminary injunction,

and propose modifications to IDOC’s policies and procedures pertaining to the Plaintiff class.

[Doc. 370].

   The Court lists six main topics for which the monitor will oversee compliance and report: (A)

provision of hormone therapy and testing, including whether medical treatment is provided by

WPATH-trained providers; (B) evaluation of gender-affirming surgery, including

implementation of certain contracts and the Continuing Quality Improvement (CQI) program;

(C) evaluation of transfers to facilities matching expressed gender and assessment of the

implementation of IDOC’s PRISM program; (D) provision of gender affirming commissary



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items; (E) cross-gender searches and transgender identification policy; and (F) implementation of

trainings pertaining to transgender issues. [Doc. 370, pp. 7-13].

   Defendants object to the scope of the proposed monitor duties because they are too broad.

The duties pertaining to groups (A), (B), and (C) invite second-guessing decisions made by

IDOC and its medical providers. Topics (D), (E), and (F) involve separate expertise than those in

the topics related to medical care. Because the scope of the proposed duties are too broad,

Defendants request that this Court curtail the proposed duties.

                                            Argument

  I. The proposed monitor duties are too broad.

   Defendants have opposed the broad relief sought in this action; however, Defendants have

complied with the preliminary injunctions as well as the timing of compliance and reporting.

Yet, as noted in Defendants’ Response to Plaintiffs’ Post-Trial Brief [Doc. 346], the typical plan

should be that the Court order relief but should allow IDOC to submit its own plan to satisfy the

relevant constitutional standards. [Doc. 346, p. 4-5, citing Westefer v. Neal, 682 F.3d 670 (7th

Cir. 2012); Lipscomb v. Pfister, case no. 12-cv-1041, 2014 U.S. Dist. LEXIS 9366, at * 5 (C.D.

Ill. Jan. 27, 2014); & Doe v. Cook County, 798 F.3d 558, 566-67 (7th Cir. 2015)].

   Here, instead, the Court imposed specific relief, steps to be met, and reporting deadlines. It is

one thing if the Court requires the use of a monitor to review the parties’ reporting as to the

compliance; but yet another if the Court desires a monitor review the reporting, compliance, and

also independently investigate the items that are the subject of the Court’s most recent

preliminary injunction. For instance, the Court’s proposal would require the monitor to

independently assess whether medical professionals meet the WPATH qualifications, are

personally committed to continuing education on transgender health, and that the providers do




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not hold personal or religious beliefs that impact their treatment of inmates with gender

dysphoria. [Doc. 370, p. 8]. In the next section, the monitor’s duties include overseeing the

implementation of IDOC contracts related to surgery, which include a hair removal contract with

Wexford Health Sources, Inc., and Dr. Schechter’s consulting contract. [Doc. 370, pp. 9-10]. The

proposal does not specify what oversight of these contracts will entail. [Id.] The breadth of the

monitor’s proposed duties go far beyond what should be allowed under the Prison Litigation

Reform Act, 18 U.S.C. § 3626, and interpreting cases. Such a role raises the “grave federalism

concerns” noted recently by the Seventh Circuit Court of Appeals. [Doc. 346, pp. 17-18, citing

Shakman v. Clerk of Cook County, 994 F.3d 832, 843 (7th Cir. 2021)].

 II. The proposed duties pertaining to topics (A), (B), and (C) may be interpreted as a
     means to second-guess decisions made by IDOC.

    The duties proposed by the Court in subsection (A) include reviewing IDOC records as to

hormone levels, reviewing whether Plaintiffs’ hormones are being titrated within the Endocrine

Society Hormone Guidelines, and reviewing whether appropriate referrals are made to an

endocrinologist or other specialist. [Doc. 3706, pp. 7-8]. Subsection (B) calls for the monitor to

review surgery denials and assess “whether surgery and related treatment is being provided to

class members in a timely manner relative to inmates’ requests.” [Doc. 370, pp. 9-10]. The Court

also proposes the monitor assess whether Defendants are in compliance with the transfer-related

accommodations. [Doc. 370, pp. 10-11, (C)].

    Based upon the descriptions contained in subparagraphs (A), (B), and (C), it is unclear

whether the duties would be to ensure that the reviews were merely completed or to determine

whether the reviews were correct. The former may be easily discerned from the records

provided; however, including the latter determination would be an inappropriate use of federal

oversight. Transfer decisions are matters left to the discretion of prison officials. See, e.g.,



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McKune v. Lile, 536 U.S. 24, 39 (“It is well settled that the decision where to house inmates is at

the core of prison administrators’ expertise.”); Boykin v. Fischer, 2019 U.S. Dist. LEXIS

199197, 2019 WL 6117580, * 42-49 (N.D. Ill. Nov. 18, 2019) (collecting cases). And, courts

should not pass judgment on whether treatment decisions are correct. Estelle v. Gamble, 429

U.S. 97, 107 (1976); Snipes v. DeTella, 95 F.3d 586, 591-92 (7th Cir. 1996). Defendants object

to the proposed duties to the extent that the monitor’s duties would entail reviewing the

appropriateness of hormone therapy, surgical decisions, and transfer determinations pertaining to

the Plaintiff class. Any review of these items should be limited to whether they occurred as

represented by Defendants in their status reports and not whether the decisions were appropriate

or correct.

III. The proposed duties pertaining to topics (D), (E), and (F) require expertise that is
     distinct from topics (A), (B), and (C).

    Topics (D), (E), and (F) cover items that are operational rather than having to do with

medical or mental health treatment. As a result, a monitor who may be appropriate to review

medical and mental health records may not be appropriate to review supply chains for

commissary, search policies, or training for security staff. For these reasons, there should be in

place a provision for a second monitor or someone with distinct expertise with such issues. It

may be that two monitors are needed with separate duties or that the monitor be allowed an

assistant who can better address those topics. As of today, there does not appear to be a clear

choice who can perform all of these proposed tasks.

                                            Conclusion

    In conclusion, the proposed monitor duties are too broad and should be limited further.

Specifically, duties that involve assessing the competency and personal beliefs of each provider

are too broad. Similarly, vague duties that require the monitor to oversee contracts with others



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that IDOC has already entered into appear overly broad. Defendants also object to a monitor that

will second-guess decisions that have already been made by IDOC providers and administrative

staff. Finally, Defendants seek clarification on how these tasks may be split up depending on the

differing expertise required for the topics listed by the Court.

    WHEREFORE, Defendants respectfully request that this Court narrow the monitor duties

further.

                                                       Respectfully submitted,
                                                       ROB JEFFREYS, MELVIN HINTON, and
                                                       STEVEN BOWMAN,
                                                               Defendants,
Lisa A. Cook, #6298233                                 KWAME RAOUL, Attorney General
Assistant Attorney General                             State of Illinois
500 South Second Street
Springfield, Illinois 62701                                    Attorney for Defendants,
(217) 782-9014 Phone
(217) 524-5091 Fax                                     By: s/Lisa A. Cook
Email: lisa.cook@ilag.gov                                    Lisa A. Cook




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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS
                              EAST ST. LOUIS DIVISION
JANIAH MONROE, MARILYN MELENDEZ,                    )
LYDIA HELENA VISION,                                )
SORA KUYKENDALL, and SASHA REED,                    )
                                                    )
               Plaintiffs,                          )
                                                    )
       - vs-                                        )          No. 18-156-NJR-MAB
                                                    )
ROB JEFFREYS, MELVIN HINTON,                        )
and STEVE MEEKS,                                    )
                                                    )
               Defendants.                          )
                                     CERTIFICATE OF SERVICE

        I hereby certify that on January 3, 2022, the foregoing document, DEFENDANTS’
OBJECTIONS TO SCOPE OF PROPOSED MONITOR DUTIES, was electronically filed
with the Clerk of the Court using the CM/ECF system which will send notification of such filing
to the following:

               John A. Knight                    jknight@aclu.il.org
               Abby L. Parsons                   aparsons@kslaw.com
               Sarah Jane Hunt                   sarahjane@tkennedylaw.com
               Thomas E. Kennedy, III            tkennedy@tkennedylaw.com
               Brent P. Ray                      bray@kslaw.com
               Samantha G. Rose                  sam.rose@kirkland.com
               Amelia Bailey                     abailey@kirkland.com
               Camille Bennett                   cbennett@aclu-il.org
               And all other counsel of record

                                                        s/ Lisa A. Cook
                                                        Lisa A. Cook, #6298233
                                                        Assistant Attorney General
                                                        Office of the Attorney General
                                                        500 South Second Street
                                                        Springfield, Illinois 62701
                                                        (217) 782-9014 Phone
                                                        (217) 524-5091 Fax
                                                        Email: lisa.cook@ilag.gov




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